                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                             Case No. 15-CR-117

KENDALL McCLURE,

                    Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Kendall McClure, who was

represented by counsel, appeared before me for a change of plea colloquy pursuant to

Fed. R. Crim. P. 11 on November 2, 2016. ECF No. 479. Mr. McClure consented to my

conducting the change of plea colloquy, while the United States did not. I explained

that it would be for the U.S. District Judge alone, not me, to enter the plea and that

my role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Pepper.

      After Mr. McClure was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing. Through his responses, I found that Mr. McClure was lucid, intelligent, and

not under the influence of any intoxicants or substances.

      I then discussed in detail each of the subjects specified in Rule 11, including

the rights he would surrender by entering a plea of guilty, the maximum penalties



       Case 2:15-cr-00117-PP     Filed 11/10/16   Page 1 of 3    Document 484
associated with the charged offense, and the authority of the sentencing judge to

disregard any recommendations in the plea agreement and to sentence Mr. McClure

at the statutory maximums.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the plea agreement. I found that there was an independent factual basis

containing each of the essential elements of the offense charged, conspiracy to

possess with intent to distribute and to distribute heroin. Mr. McClure advised that

he was pleading guilty to the charged offense because he was, in fact, guilty and that

the government could prove beyond a reasonable doubt that he was guilty of the

charged offense. Finally, I found that, in responding to my questions, Mr. McClure

was candid, respectful, and non-evasive, fully accepting responsibility for and

acknowledging the unlawfulness of his conduct.

      One further issue: Mr. McClure’s counsel, Joshua Uller, made an oral motion

to withdraw as counsel for purposes of sentencing because Mr. Uller has recently

accepted a position with the Federal Defender Service, which is currently

representing one of Mr. McClure’s co-defendants. I agreed that this created a

potential conflict and granted the motion to withdraw. I advised Mr. McClure that he

would receive new counsel promptly and that his rights would in no way be

prejudiced by the need to change counsel. Mr. McClure strongly preferred remaining

with Mr. Uller, but I explained that continued representation by Mr. Uller was not

possible given the conflict issues generated by his new position.


                                          2

       Case 2:15-cr-00117-PP     Filed 11/10/16   Page 2 of 3       Document 484
      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Kendall McClure’s plea of guilty be accepted; that a presentence investigation and

report be prepared according to the schedule set by the Court; and that Mr. McClure

be adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation or prior to the Final Pretrial Conference, whichever is

earlier. Objections are to be filed in accordance with the Eastern District of

Wisconsin’s electronic case filing procedures. Failure to file a timely objection with

the district court shall result in a waiver of your right to appeal. If no response or

reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 10th day of November, 2016.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




                                            3

       Case 2:15-cr-00117-PP      Filed 11/10/16    Page 3 of 3    Document 484
